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JS 44 (Rev. 04/21)                                                       CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS


   (b) County of Residence of First Listed Plaintiff                                                     County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)




II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                          PTF        DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4        4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY              PERSONAL INJURY                 625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                365 Personal Injury -                of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product            Product Liability            690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability              367 Health Care/                                                        INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &            Pharmaceutical                                                    PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                    Personal Injury                                                   820 Copyrights                    430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’          Product Liability                                                 830 Patent                        450 Commerce
  152 Recovery of Defaulted                Liability              368 Asbestos Personal                                                 835 Patent - Abbreviated          460 Deportation
       Student Loans                  340 Marine                      Injury Product                                                        New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product              Liability                                                         840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment              Liability             PERSONAL PROPERTY                           LABOR                      880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle           370 Other Fraud                  710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle           371 Truth in Lending                 Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability       380 Other Personal               720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal              Property Damage                  Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                  385 Property Damage              740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -           Product Liability            751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS             PRISONER PETITIONS                790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights      Habeas Corpus:                   791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                  463 Alien Detainee                   Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment              510 Motions to Vacate                                                 870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                    Sentence                                                               or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations          530 General                                                           871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -  535 Death Penalty                    IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment              Other:                           462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -  540 Mandamus & Other             465 Other Immigration                                                  950 Constitutionality of
                                          Other                   550 Civil Rights                     Actions                                                                State Statutes
                                      448 Education               555 Prison Condition
                                                                  560 Civil Detainee -
                                                                      Conditions of
                                                                      Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from     6 Multidistrict                      8 Multidistrict
    Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION Brief description of cause:

VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                    Yes           No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
